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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11    MONIEN IBARRA,                                   Case No.: 2:21-cv-05654-SVW-KS
12                 Plaintiff,                          ORDER TO DISMISS THE
                                                       ACTION WITH PREJUDICE
13
            v.
14
      KENSINGTON SENIOR LIVING, LLC; Complaint Filed: May 24, 2021
15    and DOES 1 to 50, inclusive,   Removal Filed: July 13, 2021
16
                   Defendants.
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19          IT IS HEREBY ORDERED that, pursuant to the parties’ Joint Stipulation for

20    Dismissal Pursuant to F.R.C.P. 41(a)(1)(A)(ii), and good cause appearing, this action is

21    dismissed with prejudice as to all parties and all causes of action; each party to bear

22    his/its own attorneys’ fees and costs.

23          IT IS SO ORDERED.

24    DATED: ____________
              December 2, 2021
25                                             HON, STEPHEN V. WILSON
                                               United States District Court Judge
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      Case No.: 2:21-cv-05654-SVW-KS               1                        [PROPOSED] ORDER
